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Prob 12B                    UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA


           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                            (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                         ANDREW ESTEVAN RODRIGUEZ

Docket Number:                         1:00CR05211-02

Offender Address:                      Fresno, California

Judicial Officer:                      Honorable Anthony Ishii
                                       Chief United States District Judge
                                       Fresno, California

Original Sentence Date:                11/27/2000

Original Offense:                      21 USC 841(a)(1) and 18 USC 2, Distribution of Cocaine
                                       Base and Aiding and Abetting (3 Counts)
                                       (CLASS A FELONIES)

Original Sentence:                     78 months BOP; 60 months TSR; $300 assessment;
                                       mandatory drug testing

Special Conditions:                    1) Submit to search; 2) Provide financial access; 3) Partic-
                                       ipate in drug and alcohol treatment; 4) Participate in
                                       substance abuse testing; 5) No paging devise or cellular phone
                                       without permission of USPO and must provide billing records
                                       upon request; 6) Aftercare copayment; 7) Register as narcotic
                                       offender

Type of Supervision:                   Supervised Release

Supervision Commenced:                 09/01/2006

Assistant U.S. Attorney:               Kenneth Julian                            Telephone: (559) 497-4000

Defense Attorney:                      John F. Garland                           Telephone: (559) 497-6132

Other Court Action:
                                                                                                        R ev. 05/2008
                                                                                           V IO LA T IO N __P E T IT IO N
                                                                                                   (P R O B 12C ).M R G
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11/29/2006:                        Probation Form 12B, Petition to Modify Conditions of
                                   Supervision, filed with Court advising use of metham-
                                   phetamine. Court approved modification of “up to 120 days”
                                   placement at Turning Point Comprehensive Sanctions Center
                                   (TPCSC), Fresno, California.

04/04/2007:                        Probation Form 12C filed with Court alleging use of a
                                   controlled substance failure to complete TPCSC program.

04/16/2007:                        Conditions of supervised release modified to include
                                   participation in Westcare inpatient treatment program.

06/05/2007:                        Probation Form 12C filed with Court alleging failure to
                                   complete Westcare inpatient treatment program.

07/02/2007:                        Supervised release revoked and the releasee was committed
                                   to the Bureau of Prisons for 4 months, with 53 months
                                   supervised release upon his release from imprisonment. All
                                   previous terms and conditions to remain in full force and
                                   effect.

10/22/2007:                        Probation Form 12C filed for unlawful use of a controlled
                                   substance (methamphetamine).

11/26/2007:                        Supervised release revoked and the releasee was committed
                                   to the Bureau of Prisons for 8 months, with 45 months
                                   supervised release. All previous terms and conditions to
                                   remain in full force and effect.




PETITIONING THE COURT


To modify the conditions of supervision as follows:

      1.      The probationer shall abstain from the use of alcoholic beverages and
              shall not frequent those places where alcohol is the chief item of sale.


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       2.      The probationer shall reside and participate in the Shining Light
               residential treatment program for a period of at least 90 days, unless
               discharged earlier by the probation officer, placement shall
               commence as directed by the probation officer and the defendant
               shall comply with all program rules and procedures.


Justification:    On October 22, 2008, the defendant was granted a family pass and
returned to the Westcare residential facility under the influence of alcohol; wherein he
tested at a .08 blood alcohol level. This activity is a violation of the offender's standard
condition that states "the defendant shall refrain from excessive use of alcohol." The
offender admitted that he does have an alcohol problem and that he does not oppose an
alcohol condition being included as a special condition.

On November 5, 2008, the offender left the treatment program without authorization and
then attempted to return that evening. This conduct was a violation of the Westcare
residential treatment program rules and he was discharged from Westcare. This is a
violation of special condition number eight which states the "offender is to participate and
successfully complete" his residential program. Since his discharge, the offender had
been testing three times per week at the probation office and all drug tests provided were
negative.     The offender recognizes that his compliance with Westcare residential
treatment has been poor, but he believes that a faith-based program would better meet his
needs in living a drug and alcohol free life. On December 10, 2008, the Shining Light
faith-based residential treatment program accepted the offender and his transition to this
program has been positive. The offender understands that he is in violation of his
supervised release by not completing Westcare, but now believes he would succeed at a
different program (faith-based). The undersigned informed the offender that should he fail
to complete this program successfully, he will have exhausted all residential drug treatment
options, and that the recommendation of the probation officer will be that he return to
prison.




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The probationer agrees to said modification (waiver attached).


      I declare under penalty of perjury that the foregoing is true and correct.


EXECUTED ON:        December 22, 2008
                    Fresno, California
                    JCR

                                  Respectfully submitted,

                                   /s/ Jack C. Roberson

                                 JACK C. ROBERSON
                             United States Probation Officer
                               Telephone: (559) 499-5732



REVIEWED BY:          /s/ Hubert J. Alvarez
                    HUBERT J. ALVAREZ
                    Supervising United States Probation Officer




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THE COURT ORDERS:

(X)   Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:


IT IS SO ORDERED.

Dated:   January 29, 2009                    /s/ Anthony W. Ishii
0m8i78                              CHIEF UNITED STATES DISTRICT JUDGE




                                                                                      R ev. 05/2008
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